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                 EXHIBIT 33
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                                        10650



From:                              Brent Gleason <brent.gleason@gmail.com>
Sent:                              Monday, December 9, 2019 3:21 PM
To:                                Roy III, Daniel P.
Cc:                                Michael Bloch; Siegel, Joshua
Subject:                           Re: Thomas Ryan Rousseau - Discord Authorization



[External]

Yes, I spoke to him last week and he's all ready to send the phone and such. I'll send you the discord doc this
afternoon.

___________________________________

Brent T. Gleason
Attorney

6060 N. Central Expressway
Suite 888
Dallas, Texas 75206
Fax (469) 232-9339
brent.gleason@dunhamlaw.com


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"Justice is a certain rectitude of mind whereby a man does what he ought to do in the circumstances confronting
him."

- Saint Thomas Aquinas


On Wed, Dec 4, 2019, 12:52 PM Roy III, Daniel P. <droy@cooley.com> wrote:

 Brent,



 We’re once again following up on the below. It has been nearly one month since you indicated that you would reach
 out to your client. Please let us know when Mr. Rousseau will submit all of the requisite authorizations, as well as all of


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his electronic devices to the third-party discovery vendor. We further reiterate our reservation of all rights to seek
relief from the Court.



Thanks,



Dan



From: Brent Gleason <brent.gleason@gmail.com>
Sent: Wednesday, November 6, 2019 1:40 PM
To: Roy III, Daniel P. <droy@cooley.com>
Subject: Re: Thomas Ryan Rousseau - Discord Authorization




[External]



I'll reach out to Rousseau, I have been on paternity leave so I am trying to play catch up

___________________________________

Brent T. Gleason
Attorney

6060 N. Central Expressway
Suite 888
Dallas, Texas 75206
Fax (469) 232-9339
brent.gleason@dunhamlaw.com


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"Justice is a certain rectitude of mind whereby a man does what he ought to do in the circumstances
confronting him."


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- Saint Thomas Aquinas




On Mon, Nov 4, 2019, 6:29 PM Roy III, Daniel P. <droy@cooley.com> wrote:

Brent,



We would like to follow up on the below – please confirm that your client has submitted the Discord
authorization forms.



In addition, please ensure that Mr. Rousseau submits his authorization to Twitter. The process for doing so is
explained in the attached instructions.



Finally, I am copying our contact at the third-party discovery vendor retained in this action, Ken Kim. Please
arrange for Mr. Rousseau’s devices, as listed in the attached ESI Certification, to be sent to Mr. Kim for
imaging.



Please confirm that Mr. Rousseau has submitted all authorizations no later than November 8th. In addition,
we ask that you confirm that Mr. Rousseau has submitted his electronic devices for imaging no later than
November 14th. We reserve all rights to seek relief from the Court should we not receive such confirmations.



Best,


Dan




From: Roy III, Daniel P.
Sent: Thursday, October 24, 2019 4:35 PM
To: 'brent.gleason@gmail.com' <brent.gleason@gmail.com>
Cc: 'Michael Bloch' <mbloch@kaplanhecker.com>; Siegel, Joshua <jsiegel@cooley.com>
Subject: Thomas Ryan Rousseau - Discord Authorization




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Brent,



As discussed at Mr. Rousseau’s deposition last week, Mr. Rousseau is required to complete the attached
Discord authorization for each of his Discord handles (i.e., Thomas Ryan (Discord ID: 255039575758602240;
Thomas Ryan (Discord ID: 363070228864696330); and Commander#770). Once they are complete, please
ensure that they are submitted from whichever of Mr. Rousseau’s email accounts is associated with that
particular handle. Otherwise, Discord will reject the authorization.



We will also be following up shortly with instructions for sending Mr. Rousseau’s electronic devices to the
vendor for imaging, etc.



Please let me know if you have any questions.



Thanks,



Dan



Daniel P. Roy III
Cooley LLP

55 Hudson Yards

New York, NY 10001-2157

+1 212 479 6784 office

+1 212 479 6275 fax

+1 860 933 3665 mobile

droy@cooley.com




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